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                             UNITED STATES BANKRUPTCY COURT

                                 DISTRICT OF SOUTH CAROLINA

IN RE:                             )
                                   )                   B/K Case No. 19-04171-DD
MARC K. KNAPP                      )                   Chapter 7
                                   )
                 Debtor            )                   NOTICE AND APPLICATION FOR
                                   )                   SALE OF PROPERTY FREE AND
                                   )                   CLEAR OF LIENS
___________________________________)

TO: All Creditors and Parties in Interest

Kevin Campbell, Trustee for the above Debtor, has filed papers with the court to obtain approval
to sell the property of the debtor's estate described below free and clear of all liens and
encumbrances according to the terms and conditions stated below.

      Your rights may be affected. You should read these papers carefully and discuss them
with your attorney, if you have one in this bankruptcy case. (If you do not have an attorney,
you may wish to consult one.)

        If you do not want the court to approve the sale, or you want the court to consider your
views on the application, then within twenty-one (21) days of service of this notice, you or your
attorney must:

         File with the court a written response, return, or objection at:

             1100 Laurel Street
             Columbia, SC 29201

          Responses, returns, or objections filed by an attorney must be electronically filed in
ecf.scb.uscourts.gov.

      If you mail your response, return, or objection to the court for filing, you must mail it early
enough so the court will receive it on or before the date stated above.

         You must also send a copy to:

                Kevin Campbell, Trustee
                Post Office Box 684
                Mount Pleasant, SC 29465

              Attend the hearing scheduled to be heard on April 27, 2021 at 9:00 a.m. which may
be held telephonically pursuant to Amended Operating Order 20-03 (April 1, 2020) and Operating
Order 20-05 (March 20, 2020). If these Operating Orders are rescinded, an in person hearing
would be held at the United States Bankruptcy Court, 145 King Street, Room 225, Charleston,
South Carolina.

         If no response, return, and/or objection is timely filed and served, no hearing will be held
on this application, except at the direction of the judge.
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         If you or your attorney do not take these steps, the court may decide that you do not
oppose the relief sought in the application and may enter an order granting that relief.

TYPE OF SALE: Private Sale

PROPERTY TO BE SOLD: The Estate’s interest in 5702 Captain Kidd Road, Hollywood, SC 29449
     (TMS#285-13-00-044) and related fixtures; that certain dock easement known as Wallace
     Creek (TMS#285-13-00-070).

PRICE: One Million Fifty Thousand and 00/100 ($1,050,000.00) dollars.

NOTICE: THE TRUSTEE IS SELLING THE ABOVE-REFERENCED PROPERTY “AS IS,”
WITHOUT ANY WARRANTIES WHATSOEVER INCLUDING, BUT NOT LIMITED TO,
WARRANTY AS TO TITLE. THE BUYER AGREES TO RECEIVE THE PROPERTY WITH ALL
FAULTS. THE TRUSTEE MAKES NO WARRANTY, EXPRESS OR IMPLIED, REGARDING THE
PROPERTY, AND SPECIFICALLY EXCLUDES ANY IMPLIED WARRANTY OF
MERCHANTABILITY AND ANY IMPLIED WARRANTY OF FITNESS FOR A PARTICULAR USE
OR PURPOSE. THE BUYER SHOULD HAVE THE TITLE TO THE PROPERTY RESEARCHED
BEFORE THE CONSUMMATION OF THE SALE. THE TRUSTEE DOES NOT PROVIDE LIEN
OPINIONS. THE BUYER HAS BEEN GIVEN THE OPPORTUNITY TO EXAMINE THE
PROPERTY BEFORE SIGNING ANY CONTRACT OR SUBMITTING A BID TO PURCHASE THE
PROPERTY, AND TO PERFORM SUCH TESTING, IF APPLICABLE, TO DETECT POSSIBLE
LATENT DEFECTS.

APPRAISAL VALUE: $1,050,000 per Trustee’s realtor.

BUYER: Jonathan and Brook Adams, or their assigns. (The Buyers are good faith purchasers for
value under §363(m) and do not have any known adverse interest in this case or any parties
involved in this case, including the Debtor, their counsel and the U.S. Trustee’s office. The Buyer
is not a creditor of the Debtor).

PLACE AND TIME OF SALE: : This sale shall take place as soon as possible following the entry
of the Order Approving the Sale by the U.S. Bankruptcy Court at a date, place and time to be
agreed upon by the parties.

SALES AGENT/AUCTIONEER/BROKER: Douglas Harbin, Harbins Two, Inc., 3325 Buccaneer
Road, Isle of Palms, SC 29451, is the listing agent and whose telephone number is (843) 478-
4594, with questions concerning the property or the sale.

COMPENSATION TO SALES AGENT/AUCTIONEER/BROKER/ETC.: Sixty-Three Thousand and
00/100 ($63,000.00) dollars or approximately six percent (6.0%) of the contract sales prices.

ESTIMATED TRUSTEE'S COMPENSATION: Reasonable compensation to be determined by the
Court (but not to exceed the limits set in 11 U.S.C. § 326(a)).

LIENS/MORTGAGES/SECURITY INTERESTS ENCUMBERING PROPERTY: The sale is free and
clear of all liens, encumbrances and judgments. This sale is subject to any easements, covenants
or restrictions of record. There is a valid first mortgage lien held against this real property by
Dechomai Foundation, Inc. in the approximate amount of $905,000. Pursuant to an agreement
with this creditor, after payment of normal seller’s closings costs, and a carve out of not less than
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2.0% percent of the contract price, the creditor shall receive the balance of the net sale proceeds
until its lien is paid in full, which shall be verified in writing at the time of closing. Any remaining net
sale proceeds will be paid to the estate.

Charleston County real property taxes and Solid Waste Fees may be owed on this real property
for the tax years 2018-2020 in the approximate amount of $49,564.53, plus pro-rated 2021 taxes.
This statutory lien and any other outstanding real property taxes on this property shall be paid in
full prior to payment of the mortgage lien.

The United States of America (Internal Revenue Service) has asserted a judgment lien against the
real property in the approximate amount of $636,497.47, plus interest from the date of recording
of the default judgment lien on May 16, 2018. This lien is wholly unsecured as to this real property
and/or otherwise disputed. The Trustee is informed and believes that the IRS has agreed to
release its lien from this property at closing.

The Trustee is not aware of any other liens, judgments, or other encumbrances. To the extent they
may exist, they are disputed and they shall attach to the estate’s interest in the net sale of proceeds
pursuant to 11 U.S.C. §363(f)(4).

A certified copy of the Order approving the sale may be filed with the appropriate clerk and/or
recorded with the recorder to cancel any liens and other encumbrances of record as provided for
in this notice.

DEBTOR'S EXEMPTION: N/A

PROCEEDS ESTIMATED TO BE PAID TO ESTATE: Estimated to be $21,000, representing five
percent of the net sale proceeds after normal closing costs, less the payment of the $188.00 filing
fee to the Campbell Law Firm.

STAY OF ORDER: N/A

Applicant is informed and believes that it would be in the best interest of the estate to sell said
property by private sale. Applicant also believes that the funds to be recovered for the estate from
the sale of said property justify its sale and the filing of this application.

The Court may consider additional offers at any hearing held on this notice and application for
sale. The Court may order at any hearing that the property be sold to another party on equivalent
or more favorable terms.

The trustee or debtor in possession, as applicable, may seek appropriate sanctions or other similar
relief against any party filing a spurious objection to this notice and application.

WHEREFORE, applicant requests the Court issue an order authorizing sale of said property and
such other and further relief as may be proper.
                                                 /s/ Kevin Campbell
                                                KEVIN CAMPBELL, TRUSTEE
                                                Post Office Box 684
                                                Mt. Pleasant, SC 29465
                                                (843) 884-6874/884-0997(fax)
                                                District Court ID No. 30
Dated: March 5, 2021                            kcampbell@campbell-law-firm.com
